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                              AFFIDAVIT OF SPECIAL AGENT

       I, Daniel R. Genck, being duly sworn, depose and state:

        1.     I am a Special Agent with the Federal Bureau of Investigation ("FBI") and have

been so employed since 2009. I am currently assigned to one of the Boston Field Office's

Counter-terrorism Squads.     Among other things, I am responsible for conducting national

security investigations of potential violations of federal criminal laws as a member of the Joint

Terrorism Task Force ("JTTF"). During my tenure as an agent, I have participated in numerous

national security investigations. I have received extensive training and experience in the conduct

of national security investigations, and those matters involving domestic and international

terrorism.

       2.      During my employment with the FBI, I have conducted and participated in many

investigations involving violations of United States laws relating to the provision of material

support to terrorism. I have participated in the execution of numerous federal search and arrest

warrants in such investigations. I have had extensive training in many methods used to commit

acts of terrorism contrary to United States law.

       3.      I am currently participating in the investigation of the two explosions that occurred

on April IS, 2013 in Boston during the Boston Marathon and a subsequent shootout that occurred

on April 18-19, 2013 in Cambridge and Watertown, Massachusetts. I believe that the same

individuals were involved in both the Marathon bombing and the shootout. This affidavit is

submitted in support of a search warrant for a black-colored Sony Vaio laptop, bearing serial

number 2752856393000903 ("the Target Computer"), retrieved from 69A Carriage Road, New

Bedford, Massachusetts, as more particularly described in Attached A hereto, which is


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incorporated herein by reference. The Target Computer is currently in the possession of the FBI.

As set forth below, I have probable cause to believe that the Target Computer belongs to Dzhokhar

Tsarnaev ("Dzhokhar").      Furthermore, I have probable cause to believe that Dzhokhar and

Tamerlan Tsarnaev ("Tamerlanll) canied out the bombings at the Boston Marathon and other

crimes described in greater detail below. I also have probable cause to believe that the Target

Computer contains evidence of the commission of criminal offenses, contraband, fruits of crime

and things otherwise criminally possessed as well as property designed and intended for use, and

that has been used, as a means of committing violations of 18 U.S.C. §§ 2332a(a)(2)(D) (Using

and Conspiring to Use A Weapon ofMass Destruction), 844(i) (Malicious Destruction ofProperty

by Means of an Explosive Device Resulting in Death), 2119 (Carjacking), 1951 (Interference with

Commerce by Violence), 924(c) (Use of a Firearm During a Crime of Violence) and 371

(Conspiracy to Commit Offenses).

       4.      This affidavit is based upon my personal involvement in this investigation, my

training and experience, my review of relevant evidence, and information supplied to me by other

law enforcement officers.    It does not include each and every fact known to me about the

investigation, but rather only those facts that I believe are sufficient to establish the requisite

probable cause.

                       STATUTORY BACKGROUND OF VIOLATIONS

       5.      Based on my training, experience, and discussions with the United States

Attorney's Office for the District of Massachusetts, I have learned the following:

       6.      Title 18, United States Code, Section 2332a provides that, "A person who, without

lawful authority, uses, threatens, or attempts or conspires to use, a weapon of mass destruction ...


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against any person or property within the United States, and ... the offense, or the results of the

offense affect interstate or foreign commerce ... and if death results, shall be punished by death or

imprisoned for any terms of years or life." The term "weapon of mass destruction" is defined in

18 U.S.C. § 2332a(c)(2) and includes "any destructive device" as defined in 18 U.S.C. § 921(a)(4).

Section 921 provides that bombs, grenades, rockets, mines and similar objects are destructive

devices.

        7.      Title 18, United States Code, Section 844(i) makes unlawful malicious destruction

of property by means of an explosive, and if death results, the violator shall be "subject to

imprisonment for any term of years, or to the death penalty or to life imprisonment."

        8.      Title 18, United States Code, Section 2119 provides that anyone who "with intent

to cause death or serious bodily harm takes a motor vehicle" that has been shipped through

interstate commerce by force or violence shall be punished by up to twenty-five years if serious

bodily injury results.

        9.      Title 18, United States Code, Section 1951 provides that anyone who interferes

with commerce by threats or violence may be punished by up to twenty years' imprisonment.

        10.     Title 18, United States Code, Section 924(c) makes unlawful the use or carrying of

a firearm during and in relation to a crime of violence. If the weapon has been used, the term of

imprisonment is not less than five years.      If the weapon has been brandished, the term of

imprisonment is not less than seven years. If the weapons have been discharged, the term of

imprisonment is not less than ten years.

        11.     Title 18, United States Code, Section 371 makes it unlawful for two persons to

conspire to commit an offense against the United States. Violations of Section 371 can result in a


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sentence of imprisonment for up to five years.

                                FACTS AND CIRCUMSTANCES

                               A. The Boston Marathon Explosions

        12.       The Boston Marathon is an annual race that attracts runners from all over the

United States and the world. According to the Boston Athletic Association, which administers

the Marathon, over 23,000 runners participated in this year's race.            The Marathon has a

substantial impact on interstate and foreign commerce. For example, based on publicly available

information, I believe that the runners and their families -- including those who travel to the

Boston area from other states and countries-- typically spend tens of millions of dollars each year

at local area hotels, restaurants and shops, in the days before, during, and after the Marathon. In

addition, a number of the restaurants and stores in the area near the finish line have special events

for spectators.

        13.       The final stretch of the Boston Marathon runs eastward along the center of

Boylston Street in Boston from Hereford Street to the finish line, which is located between Exeter

and Dartmouth Streets.      Low metal barriers line both edges of the street and separate the

spectators from the runners. Many businesses line the streets of the Marathon route. In the area

near the finish line, businesses are located on both sides of Boylston Street, including restaurants, a

department store, a hotel and various retail stores.

        14.       On April 15, 2013, at approximately 2:49 p.m., while the Marathon was still

underway, two explosions occurred on the north side of Boylston Street along the Marathon's final

stretch. The first explosion occurred in front of 671 Boylston Street and the second occurred

approximately one block away in front of 755 Boylston Street. The explosive devices were


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placed near the metal barriers where hundreds of spectators were watching runners approach the

finish line. Each explosion killed at least one person, maimed, burned and wounded scores of

others, and damaged public and private property, including the streets, sidewalk, barriers, and

property owned by people and businesses in the locations where the explosions occurred. In total,

three people were killed and over two hundred individuals were injured.

       15.     The explosions had a substantial impact on interstate and foreign commerce.

Among other things, they forced a premature end to the Marathon and the evacuation and

temporary closure of numerous businesses along Boylston Street for several days.

                                   B. Surveillance Evidence

       16.     I have reviewed videotape footage taken from a security camera located on

Boylston Street near the comer of Boylston and Gloucester Streets. At approximately 2:38p.m.

(based on the video's duration and timing of the explosions) -- i.e., approximately 11 minutes

before the first explosion-- two young men can be seen turning left (eastward) onto Boylston from

Gloucester Street. Both men are carrying large knapsacks. The first man, whom I refer to in this

affidavit as Bomber One, is a young male, wearing a dark-colored baseball cap, sunglasses, a white

shirt, dark coat, and tan pants. The second man, whom I refer to in this affidavit as Bomber Two,

is a young male, wearing a white baseball cap backwards, a gray hooded sweatshirt, a lightweight

black jacket, and dark pants. As set forth below, there is probable cause to believe that Bomber

One is Tamerlan and Bomber Two is his brother, Dzhokhar.

       17.     After turning onto Boylston Street, Bomber One and Bomber Two can be seen

walking eastward along the north side ofthe sidewalk towards the Marathon finish line. Bomber

One is in front and Bomber Two is a few feet behind him. Additional security camera video taken


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from a location farther east on Boylston Street, as well as contemporaneous photographs taken

from across the street, show the men continuing to walk together eastward along Boylston Street

towards Fairfield Street.

        18.    I have also reviewed video footage taken from a security camera affixed above the

doorway of the Forum Restaurant located at 755 Boylston Street, which was the site of the second

explosion. This camera is located approximately midway between Fairfield and Exeter Streets

and points out in the direction of Boylston and is turned slightly towards Fairfield.            At

approximately 2:41p.m. (based on the video's duration and the timing of the explosions), Bomber

One and Bomber Two can be seen standing together approximately one half-block from the

restaurant.

        19.    At approximately 2:42 p.m. (i.e., approximately seven minutes before the first

explosion), Bomber One can be seen detaching himself from the crowd and walking east on

Boylston Street towards the Marathon finish line. Approximately 15 seconds later, he can be seen

passing directly in front of the Forum Restaurant and continuing in the direction of the location

where the first explosion occurred. His knapsack is still on his back.

        20.    At approximately 2:45p.m., Bomber Two can be seen detaching himself from the

crowd and walking east on Boylston Street toward the Marathon finishing line. He appears to

have the thumb of his right hand hooked under the strap of his knapsack and a cell phone in his left

hand. Approximately 15 seconds later, he can be seen stopping directly in front of the Forum

Restaurant and standing near the metal barrier among numerous spectators with his back to the

camera, facing the runners. He then can be seen apparently slipping his knapsack onto the

ground. A photograph taken from the opposite side of the street shows the knapsack on the


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ground at Bomber Two's feet.

        21.    The Forum Restaurant video shows that Bomber Two remained in the same spot for

approximately four minutes, occasionally looking at his cell phone and once appearing to take a

picture with it. At some point he appears to look at his phone, which is held at approximately

waist level, and may be manipulating the phone. Approximately 30 seconds before the first

explosion, he lifts his phone to his ear as if he is speaking on his cell phone, and keeps it there for

approximately 18 seconds. A few seconds after he finishes the call, the large crowd of people

around him can be seen reacting to the first explosion. Virtually every head turns to the east

(towards the finish line) and stares in that direction in apparent bewilderment and alrum. Bomber

Two, virtually alone among the individuals in front of the restaurant, appears calm. He glances to

the east and then calmly but rapidly begins moving to the west, away from the direction of the

finish line. He walks away without his knapsack, having left it on the ground where he had been

standing. Approximately 10 seconds later, an explosion occurs in the location where Bomber

Two had placed his knapsack.

       22.     I have observed video and photographic footage of the location where the second

explosion occurred from a number of different viewpoints and angles, including from directly

across the street. I can discern nothing in that location in the period before the explosion that

might have caused that explosion, other than Bomber Two's knapsack.

                                  C. Photographic Identifications

       23.     I have compared a Massachusetts Registry of Motor Vehicles ("RMV") photograph

of Dzhokhar with photographic and video images of Bomber Two, and I believe, based on their

close physical resemblance, there is probable cause that they are one and the same person.


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Similarly, I have compared an RMV photograph ofTamerlan with photographic and video images

of Bomber One, and I likewise believe that they are one and the same person.

                                    D. The Bombers Emerge

       24.     I base the allegations set forth in paragraphs 25 through on information that has

been provided to me by fellow law enforcement officers, including members of the JTTF and state

and local law enforcement who responded to the crime scenes, as well as on publicly available

information that I deem reliable.

       25.     At approximately 5:00 p.m. on April 18, 2013; the FBI published video and

photographic images of Bomber One and Bomber Two on its web site. Those images were

widely rebroadcast by media outlets all over the country and the world.

       26.     Near midnight on Aprill8, 2013, an individual carjacked a vehicle at gunpoint in

Brighton, Massachusetts. A victim of the carjacking was interviewed by law enforcement and

provided the following information. The victim stated that while he was sitting in his car at a

parking lot in Brighton, a man approached and tapped on his passenger-side window. When the

victim rolled down the window, the man reached in, opened the door, and entered the victim's

vehicle. The man pointed a firearm at the victim and stated, "Did you hear about the Boston

explosion?" and "I did that.'' The man removed the magazine from his gun and showed the victim

that it had a bullet in it, and then re-inserted the magazine. The man then stated, "I am serious."

       27.     The man with the gun forced the victim to drive to another location, where they

picked up a second man. The two men put something in the trunk of the victim's vehicle. The

man with the gun took the victim's keys and sat in the driver's seat, while the victim moved to the

front passenger seat. The second man entered the victim's vehicle and sat in the rear passenger


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seat. The man with the gun and the second man spoke to each other in a foreign language.

        28.     While they were driving, the man with the gun demanded money from the victim,

who gave the man 45 dollars. One of the men compelled the victim to hand over his ATM card

and password. They then drove to an ATM machine and attempted to withdraw money from the

victim's account. The two men and the victim then drove to a gas station/convenience store in the

vicinity of 816 Memorial Drive, Cambridge. The two men got out of the car, at which point the

victim managed to escape.

        29.    A short time later, the stolen vehicle was located by law enforcement in Watertown,

Massachusetts. As the men drove down Dexter Street in Watertown, they threw at least two small

improvised explosive devices ("IEDs") out of the car. A gun fight ensued between the car's

occupants and law enforcement officers in which numerous shots were fired. One of the men was

severely injured and remained at the scene; the other managed to escape in the car. That car was

later found abandoned a short distance away, and an intact low-grade explosive device was

discovered inside it.   In addition, from the scene of the shootout on Laurel Street in Watertown,

the FBI has recovered two unexploded IEDs, as well as the remnants of numerous exploded IEDs.

                              E. Identification of the Carjackers

       30.     I have reviewed images of two men taken at approximately 12:17 a.m. by a security

camera at the ATM and the gas station/convenience store where the two carjackers drove with the

victim in his car. Based on the men's close physical resemblance to RMV photos of Tamerlan

and Dzhokhar, I believe the two men who carjacked, kidnapped, and robbed the victim are

Tamerlan and Dzhokhar. In addition, the carjacker who was severely injured during the shoot-out

in Watertown was taken to Beth Israel Hospital, where he was pronounced dead. FBI fingerprint


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analysis confirms that he is Tamerlan Tsarnaev, and the man's face matches the RMV photograph

of Tamerlan. R1vfV records indicate that Tamerlan and Dzhokhar share the same address on

Norfolk Street in Cambridge, Massachusetts. According to Department of Homeland Security

("DRS") immigration records, Tamerlan and Dzhokhar are brothers. Tamerlan was a Lawful

Permanent Resident. Dzhokhar entered the United States on April12, 2002, and is a naturalized

U.S. citizen.

                          F. Preliminary Examination of the Explosives

        31.     A preliminary examination of the remains of the explosive devices that were used

at the Boston Marathon revealed that they were low explosives that were housed in pressure

cookers. Both pressure cookers were of the same brand. The pressure cookers also contained

metallic BBs and nails. Many of the BBs were contained within an adhesive material. The

explosives contained green-colored hobby fuse.

        32.     A preliminary examination of the explosive devices that were discovered at the

scene of the shootout in Watertown and in the abandoned vehicle has revealed similarities to the

explosives used at the Boston Marathon. The renmants of at least one of the exploded IEDs at the

scene of the _shootout indicate that a low explosive had been contained in a pressure cooker. The

pressure cooker was of the same brand as the ones used in the Marathon explosions. The

explosive also contained metallic BBs contained within an adhesive material as well as

green-colored hobby fuse. The intact low-grade explosive device found in the abandoned car was

in a plastic container and wrapped with green-colored hobby fuse.

                                     G. Dzhok.har is Located

        33.     On the evening of April 19, 2013, police investigation revealed that there was an


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individual in a covered boat located at 67 Franklin Street in Watertown. After a stand-off between

the boat's occupant and the police involving gunfire, the individual was removed from the boat

and searched. A University of Massachusetts at Dartmouth identification card, credit cards, and

other forms of identification were found in his pockets. All of them identified the man as

Dzhokhar. He had visible injuries, including apparent gunshot wounds to the head, neck, legs,

and hand. Dzhokhar's wounds were triaged and he was brought to an area hospital, where he

remains for medical treatment.

        34.    OnApril21, 2013, the FBI searched Dzhokhar's dormitory room at 7341 Pine Dale

Hall at the University of Massachusetts at Dartmouth, pursuant to a search warrant. The FBI

seized from his room, among other things, a large pyrotechnic, a black jacket and a white hat of the

same general appearance as those worn by Bomber Two at the Boston Marathon on April 15,

2013, and BBs.

                            H. Identification of the Target Computer

       35.     During the course of my investigation, I have learned that Dhzokhar is a student at

the University of Massachusetts at Dartmouth, located at 285 Old Westport Road, North

Dartmouth, Massachusetts. He was admitted as a mechanical engineering student in July 2011

and is listed as a member of the Class of2015. Dzhokhar resides at 7341 Pine Dale Hall on the

campus ofthe University of Massachusetts at Dartmouth.

       3 6.    In addition to reviewing University records, I have learned during the course of my

investigation that Dhzokhar has an account with AT&T, Inc. ("AT&T"), in which he has four

cellular telephones listed in his name. The cellular telephones are current and list an address of 69

Carriage Road, New Bedford, Massachusetts, which is located approximately three miles from the


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University of Massachusetts at Dartmouth. During the course of this investigation, I have learned

that Tamerlan and Dzhokhar purchased materials online which they used to manufacture the

explosives used in the Marathon bombings. I also believe that the fireworks that were found near

the laptop in Dzhokhar's dorm room may also have used in the construction of the explosives.

       37.     Through the course of the investigation, I have learned that one of the occupants of

69A Carriage Road is Individual A and that 69A is an apartment on the first floor of the building.

Through records from DHS, I know that Individual A is a Kazakhstan national on an F-1 student

visa, which has expired.    Through a search of social media, I know that Individual A and

Dhzokhar are friends, and Individual A has posted pictures of Dhzokhar and himself together on

his website.

       38.     Based on exigent circumstances, law enforcement agents entered 69A Carriage

Road on April19, 2013 to conduct a protective sweep. Individual A was present, along with two

other individuals. Following the sweep, Individual A was interviewed by law enforcement. In

the interview, Individual A stated that he had seen and communicated with Dhzokhar in the days

following the Aprill5, 2013 Marathon bombings, and evenjoked about Dhzokhar's resemblance

to the widely broadcasted pictures of one of the suspects. Also during the interview, Individual A

stated that on April 18, 2013, Individual A and associates went to Dhzokhar's dormitory room and

took Dhzokhar's laptop. Although he initially indicated that they took the laptop as a joke, he

later admitted that it was not taken as a joke. During the interview, Individual A also stated that

he and associates went to Dhzokhar's dormitory room where they observed a backpack containing

fireworks. Individual A stated to law enforcement that the fuses of the fireworks were intact, but

the contents of the fireworks had been removed. Individual A took the backpack along with


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Dhzokhar's laptop from the dormitory room to their residence at 69A Carriage Road. Individual

A admitted the reason he did so was to protect Dhzokhar. Individual A stated that after a

discussion with associates} Individual A placed the backpack with the fireworks into a black trash

bag} along with ordinary household trash} and threw the bag in a garbage dumpster. Dhzokhar's

laptop remained within the 69A Carriage Road apartment.

       39.     Individual A described Dhzokhar's laptop as black in color and "not a Mac," which

I understand to mean that it is a Microsoft Windows"based laptop.           Individual A and his

associates also identified their own laptops as Apple computers which were in the apartment at

69A Carriage Road.

       40.     Following the interview, on April 19, 2013, Individual A and associates gave

consent to search the apartment at 69A Carriage Road.           During the consent search, law

enforcement seized two Apple MacBook Air computers, as well as a black-colored Sony Vaio

laptop, bearing serial number 2752856393000903, the Target Computer.                   The Target

Computer matches the description provided by Individual A of Dhzokhar's laptop and that is

currently in the possession of the FBI.

   PROBABLE CAUSE THAT THE TARGET COMPUTER CONTAINS EVIDENCE,
                   FRUITS, OR INSTRUMENTALITIES

       41.     I have probable cause to believe that the Target Computer contains evidence, fruits,

or instrumentalities of the crimes described above. Based on my training and experience, I know

the Target Computer were abandoned by Tamerlan and/or Dzhokhar and are currently in the

lawful possession of the FBI. They are likely to contain digital data of the type described in

Attachment B. Therefore, while the FBI might already have all necessary authority to examine

the Target Computer, I seek this additional warrant out of an abundance of caution to ensure that

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examination of the Target Computer will comply with the Fourth Amendment and other applicable

laws. The Target Computer currently at the FBI is in substantially the same state as it was when it

was seized from the aprutment at 69A Carriage Road on Aprill9, 2013.

                   SEIZURE OF COMPUTER EQUIPMENT AND DATA

       42.     From my training, experience, and infonnation provided to me by other agents, I

run aware that individuals frequently use computers to create and store records of their actions by

communicating about them through e-mail, instant messages, and updates to online

social-networking websites; drafting letters; keeping their calendars; arranging for travel; storing

pictures; researching topics of interest; buying and selling items online; and accessing their bank,

financial, investment, utility, and other accounts online.

       43.     From my training, experience, and information provided to me by other agents, I

am aware that individuals commonly store records of the type described in Attachment B in

computer hardware, computer software, computer-related documentation, and storage media.

Some storage media, such as thumb drives, can be smaller than a stick of gum and can therefore be

stored almost anywhere.

       44.     In this case, I have probable cause to believe that the Target Computer belongs to

Dzhokhar, one of the Boston Marathon bombers.                The Target Computer was taken from

Dzhokar's dormitory room by Individual A and later seized by the FBI during a consent search of

the apartment at 69A Carriage Road in New Bedford, Massachusetts.

       45.     Based on my knowledge, training, experience, and information provided to me by

other agents, I know that computer files or remnants of such files can be recovered months or even

years after they have been written, downloaded, saved, deleted, or viewed locally or over the


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Internet. This is true because:

               a.     Electronic files that have been downloaded to a storage medium can be
               stored for years at little or no cost. Furthermore, when users replace their
               computers, they can easily transfer the data from their old computer to their new
               computer.

               b.      Even after files have been deleted, they can be recovered months or years
               later using forensic tools. This is so because when a person "deletes" a file on a
               computer, the data contained in the file does not actually disappear; rather, that data
               remains on the storage medium until it is overwritten by new data, which might not
               occur for long periods of time. In addition, a computer's operating system may
               also keep a record of deleted data in a "swap" or "recovery" file.

               c.      Wholly apart from user-generated files, computer storage media-in
               particular, computers' internal hard drives-contain electronic evidence of how the
               computer has been used, what it has been used for, and who has used it. This
               evidence can take the form of operating system configurations, artifacts from
               operating system or application operation; file system data structures, and virtual
               memory "swap" or paging files. It is technically possible to delete this
               information, but computer users typically do not erase or delete this evidence
              ·because special software is typically required for that task.

               d.      Similarly, files that have been viewed over the Internet are sometimes
               automatically downloaded into a temporary Internet directory or "cache." The
               browser often maintains a fixed amount of hard drive space devoted to these files,
               and the files are overwritten only as they are replaced with more recently viewed
               Internet pages or if a user takes steps to delete them.

       46.     Based on my knowledge and training and the experience of other agents with whom

I have spoken, I am aware that in order to completely and accurately retrieve data maintained in

computer hardware, computer software or storage media, to ensure the accuracy and completeness

of such data, and to prevent the loss of the data either from accidental or programmed destruction,

it is often necessary that computer hardware, computer software, computer-related documentation,

and storage media ("computer equipment") be seized and subsequently processed by a qualified

computer specialist in a laboratory setting rather than in the location where it is seized. This is

true because of:

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              a.      The volume of evidence - storage media such as hard disks, flash drives,
              CD-ROMs, and DVD-ROMs can store the equivalent of thousands or, in some
              instances, millions of pages of information. Additionally, a user may seek to
              conceal evidence by storing it in random order or with deceptive file names.
              Searching authorities may need to examine all the stored data to determine which
              particular files are evidence, fruits, or instrumentalities of criminal activity. This
              process can take weeks or months, depending on the volume of data stored, and it
              would be impractical to attempt this analysis on-site.

              b.      Technical requirements - analyzing computer hardware, computer
              software or storage media for criminal evidence is a highly technical process
              requiring expertise and a properly controlled environment. The vast array of
              computer hardware and software available requires even computer experts to
              specialize in some systems and applications. Thus, it is difficult to know, before
              the search, which expert possesses sufficient specialized skill to best analyze the
              system and its data. Furthermore, data analysis protocols are exacting procedures,
              designed to protect the integrity of the evidence and to recover even "hidden,"
              deleted, compressed, password-protected, or encrypted files. Many commercial
              computer software programs also save data in unique formats that are not
              conducive to standard data searches. Additionally, computer evidence is
              extremely vulnerable to tampering or destruction, both from external sources and
              destructive code imbedded in the system as a "booby trap."


       4 7.   The Target Computer is currently in the possession of the FBI.



                                        CONCLUSION

       48.    Based on the information described above, I have probable cause to believe that the

Sony Vaio laptop, bearing serial number 2752856393000903, the Target Computer (as

described in Attachment A), seized pursuant to a consent search of the apartment located at 69A

Carriage Road, New Bedford, Massachusetts, belongs to Dzhokhar Tsarnaev, one of the Boston




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Marathon bombers. Furthermore, I have probable cause to believe the Target Computer contains

evidence, fruits, and instrumentalities of the crimes listed above (as described in Attachment B).




                                              ~A~c-
                                              Daniel R. Genck
                                              Special Agent
                                              Federal Bureau of Investigation
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